CASE 0:25-cr-00112-DSD-DLM Doc. 23 Filed 05/21/25 Page1of2

UNITED STATES DISTRICT COURT DISTRICT

OF MINNESOTA
Criminal No. 25 -cr- 112 (DSD/DLM)
UNITED STATES OF AMERICA,
Plaintiff, STATEMENT OF FACTS IN
SUPPORT OF EXCLUSION
V. OF TIME UNDER
SPEEDY TRIAL ACT
SHARMARKE ABDIKADIR ALI,
Defendant.

Pursuant to 18 U.S.C. § 3161(h)(7)(A), I, Sharmarke Abdikadir Ali, the defendant
in this case, agree to the following statement of facts in support of my motion to exclude
time under the Speedy Trial Act.

On May 1, 2025, I was arraigned on charges of conspiracy to traffic firearms,
unlawful possession of a machinegun, and two counts of felon in possession of a firearm.
(Doc. 17.) The government made its initial discovery disclosures on May 14, 2025. My
attorney and I have begun to review the discovery; however, there are over a thousand
pages of discovery. As well as a multitude of videos and audio statements. My attorney
and I need additional time to discuss the discovery, to identify any issues that need to be
addressed by pretrial motions.

After a meet-and-confer, the government does not object to a continuance.

Based on the above facts, I request that the deadline for filing pretrial motions be

continued for at least 60 days from the current deadline of May 22, 2025, and that the

period of the continuance be excluded from the time in which I would otherwise have to
CASE 0:25-cr-00112-DSD-DLM Doc. 23 Filed 05/21/25 Page 2of2

be brought to trial on my case under the Speedy Trial Act.
T have discussed this matter with my attorney. I voluntarily make this request,

with full knowledge of my rights under the Speedy Trial Act.

Dated: LEAS S ly ewan AEA | i
BY: Sharmarke Ali
Defendant

Dated:
Wyatt Arneson

Counsel for Sharmarke Ali
Attorney ID No. 0392071
